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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ALABAMA
                                 SOUTHERN DIVISION

  WILLIAM HEATH HORNADY, et al.,                     )
                                                     )
                  Plaintiffs,                        )
                                                     )
  v.                                                 ) CASE NO. 1:18-cv-00317-JB-N
                                                     )
  OUTOKUMPU STAINLESS USA, LLC                       )
                                                     )
                  Defendant.                         )
     MOTION FOR LEAVE TO SUBMIT A BRIEF REGARDING SANCTIONS ISSUES

           Defendant Outokumpu Stainless USA, LLC (“OTK”) moves the Court for leave to submit

 a brief regarding sanctions issues and, in support hereof, states as follows:

           1.    The Court has stated its intention to enter a liability default against OTK as a

 sanction, and the Court has before it two Reports and Recommendations recommending various

 other sanctions and striking defenses. (Docs. 261 & 277.) Both Plaintiffs and OTK filed Objections

 to the first Report and Recommendation, and OTK has also objected to the second Report and

 Recommendation. (Docs. 266, 267, & 286.)

           2.    After the parties filed those various Objections, the Court, at its March 12, 2021

 show-cause hearing, identified additional sanctionable conduct on the part of one of the attorneys

 representing OTK at that hearing. Then, at the status conference on April 13, 2021, the Court stated

 that it was also planning to enter a liability default as a sanction.

           3.    The Court’s stated intention of entering a default sanction against OTK created

 and/or exacerbated (among other things) conflicts for the law firm whose attorneys had been

 representing OTK in this action. OTK thereafter retained new counsel at a different law firm, and

 the undersigned became OTK’s new counsel of record. (Docs. 319 & 323.)




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           4.   Yesterday, Plaintiffs’ counsel and OTK’s new counsel learned that audio

 recordings for five discovery/sanctions hearings are in the process of being transcribed. The

 resulting written transcripts will, presumably, aid the Court in preparing its forthcoming sanctions

 ruling. Moreover, because OTK’s newly-retained counsel was not present at those hearings, the

 transcripts may also aid OTK’s new counsel in understanding what has transpired in this case and

 in understanding why the Court is now considering a sanction as draconian as a default.

           5.   Accordingly, OTK asks that it be granted leave to submit a brief regarding the

 sanctions issues in this case. This brief would be separate from and in addition to the “joint report”

 regarding “fact questions” requested by the Court at the April 13, 2021 status conference—

 Plaintiffs and OTK are presently working to file this “joint report” on May 3.

           6.   As to timing, OTK asks that it be granted up to 14 days after the court reporter

 completes transcriptions of all five hearings in which to submit its brief on sanctions issues.1 In

 preparing its brief, OTK will follow the formatting requirements of Civil Local Rule 7(e).

           7.   Before filing this Motion for Leave, OTK’s counsel consulted Plaintiffs’ counsel

 to ascertain Plaintiffs’ position on briefing regarding the sanctions issues. Plaintiffs’ counsel stated

 that Objections to the Reports and Recommendations had already been briefed. In contrast,

 additional sanctionable conduct that the Court identified at its March 2021 show-cause hearing has

 not been briefed on the merits.2




           1
          OTK has already obtained transcripts for two of these five hearings, so the requested 14-
 day briefing deadline would run from the transcription date for the remaining three transcripts.
           2
          In terms of sanctions-specific briefing filed after the show-cause hearing, third-party
 ADP, Inc. filed a Motion for Attorneys’ Fees. (Doc. 312.) In response to that Motion, OTK, still
 appearing through counsel at its old law firm, said that “Littler [the law firm] apologizes that the
 alleged actions of one its lawyers has led to this situation” and added that “Littler … believes” that
 its payment of ADP’s fees had “resolved” the matter. (Doc. 315 at PageID # 4047.) As a result,


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           8.        OTK is respectful of Plaintiffs’ position that the parties have already briefed

 Objections to the Reports and Recommendations, but the sanctionable conduct identified at the

 March 2021 show-cause hearing did not arise in a vacuum. Rather, previous counsel’s

 misstatements on the record were related to issues addressed in the October 2020 Report and

 Recommendation. The apparent misstatements by OTK’s former counsel and the statements by

 ADP’s counsel and ADP’s court filings (Docs. 300, 302, & 312) suggest that previous counsel

 may have been acting against the interests of OTK. Thus, OTK would like the opportunity to brief

 these issues before the Court enters its sanctions ruling.

           9.        To the extent possible, OTK will endeavor not to re-brief issues already addressed

 in the record. OTK is, however, concerned that its previous counsel’s conflicts of interest may

 have impeded the development of a full record regarding the sanctions issues.

               WHEREFORE, OTK respectfully asks that this Court enter an Order granting OTK leave

 to file a brief before the Court enters an order further sanctioning OTK for acts and/or omissions

 occurring while OTK was represented by its previous counsel, with OTK’s brief on these sanctions

 issues to be submitted within 14 days after receipt of the transcripts for the five hearings.

                                                          Respectfully submitted,

                                                          s/ Devin C. Dolive
                                                          Devin C. Dolive (DOLID4671)

                                                          Attorney for Defendant
                                                          OUTOKUMPU STAINLESS USA, LLC




 the Court, after noting “no objection” from OTK’s then-counsel, entered a written Order granting
 ADP its requested fees. (Doc. 317 at PageID # 4067.)



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                                  CERTIFICATE OF SERVICE

        I hereby certify that, on April 30, 2021, I electronically filed the foregoing document using
 the Court’s CM/ECF system, which will automatically send electronic notice to the following:

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                                                        OF COUNSEL




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